                           United States District Court
                                          for the
                               Eastern District of Tennessee

U.S.A. vs. Rodney Goodwin                                            Docket No. 1:10-CR-104-001

                     Petition for Action on Conditions of Pretrial Release

        COMES NOW Donna Rankin, U. S. Probation Officer, presenting an official report upon
the conduct of defendant Rodney Goodwin, who was placed under pretrial release supervision by
the Honorable Susan K. Lee sitting in the court at Chattanooga, Tennessee, on April 19, 2012, under
the following conditions:

1.     The defendant shall report as directed
2.     Execute a bond of $20,000
3.     Maintain or actively seek employment
4.     Travel restricted to the Eastern District of Tennessee unless permitted by the Probation
       Department
5.     Refrain from possessing a firearm, destructive device, or other dangerous weapon
6.     Refrain from excessive use of alcohol
7.     Refrain from any use or unlawful possession of a controlled substance
8.     Submit to any testing as required to determine the use of prohibited substance
9.     Participate in a program of inpatient or outpatient substance abuse therapy and counseling
       if the pretrial services office or supervising officer considers it advisable
10.    Report any contact with law enforcement as soon as possible
11.    Not enter into any agreement to act as an informer or special agent of a law enforcement
       agency without the permission of the District Court


       Respectfully presenting petition for action of court and for cause as follows:


On May 5, 2012, the defendant was arrested by Chattanooga Police Department for Driving Under
the Influence and Implied Consent Law. The arrest report indicates that after the arrest, the
defendant became belligerent to jail personnel and stated to the arresting officer that, “He was not
done with him.” Mr. Goodwin subsequently had to be escorted to the back of the jail.

Mr. Goodwin failed to notify this officer of his arrest, however, when he was telephonically notified
by this officer on May 7, 2012, he acknowledged that he had been arrested.


                       PRAYING THAT THE COURT WILL ORDER

That a Warrant be issued for the violation(s) of his Conditions of Release (DUI arrest on May 5,
2012) and that upon the execution of said Warrant, a hearing be held for the defendant to show cause
as to why his bond should not be revoked.



Case 1:10-cr-00104-TRM-SKL           Document 62 Filed 05/10/12             Page 1 of 3      PageID
                                           #: 156
Petition for Action on Conditions of Pretrial Release                                      Page 2
for Rodney Goodwin


I declare that under penalty of perjury that the foregoing is true and correct.

                                                      Respectfully,

                                                      /s/Donna Rankin
                                                      Donna Rankin
                                                      U.S. Probation Officer

Approved by:

/s/Elizabeth D. Miller     May 7, 2012
Elizabeth D. Miller          Date
Supervising U. S. Probation Officer




Case 1:10-cr-00104-TRM-SKL           Document 62 Filed 05/10/12              Page 2 of 3   PageID
                                           #: 157
Petition for Action on Conditions of Pretrial Release                                     Page 3
for Rodney Goodwin



                                     ORDER OF COURT

That a Warrant be issued for the defendant and that upon the execution of said Warrant, a hearing
be held for the defendant to show cause as to why his bond should not be revoked.

Considered and ordered this 9th day of May, 2012, and ordered filed and made a part of the records
in the above case.

       SO ORDERED.

       ENTER:

                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE




Case 1:10-cr-00104-TRM-SKL          Document 62 Filed 05/10/12            Page 3 of 3     PageID
                                          #: 158
